Amiad Kushner
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Attorneys for Lior Dagan as Foreign Representative of
Michael David Greenfield (a.k.a. Michael Ben-Ari)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                              Chapter 15

 MICHAEL DAVID GREENFIELD                            Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.



   DECLARATION OF AMIAD KUSHNER IN SUPPORT OF MOTION OF LIOR
    DAGAN, THE FOREIGN REPRESENTATIVE, FOR ENTRY OF AN ORDER
 AFFIRMING HIS AUTHORITY TO REALIZE AND TAKE CONTROL OF CERTAIN
IDENTIFIED ASSETS OF THE DEBTOR AND ASSETS OF THE DEBTOR THAT MAY
     BE IDENTIFIED IN THE FUTURE WITHIN THE UNITED STATES AND
                REPATRIATE THOSE ASSETS TO ISRAEL
          I, Amiad Kushner, pursuant to 28 U.S.C. § 1746, declare as follows:

          1.     I am a Partner at the law firm of Seiden Law Group LLP, which is counsel of record

for Lior Dagan as Foreign Representative (“Foreign Representative”) of Michael David Greenfield

(the “Debtor”) in the above-captioned matter. I am admitted to practice before the courts of the

State of New York.

          2.     I make this declaration in support of the Foreign Representative’s above-titled

motion for certain discretionary relief pursuant to 11 U.S.C. § 1521(a)(5) and 1521(b) filed

concurrently herewith.




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         3.     I make this declaration based on my own personal knowledge, and, if called upon

to do so, could and would testify competently thereto.

         4.     Seiden Law Group LLP, as attorneys for the Foreign Representative, maintains a

New York escrow account for the assets of the Debtor that have been collected in the United States

to date (“Escrow Account”). The table below reflects all of the U.S.-based assets of the Debtor

which the Foreign Representative has identified and which are now held in the Escrow Account

(“Identified Assets”):

              Prior Asset         Title of Account       Funds       Funds Reserved for
              Custodian                                              Department of Justice
              LPL Financial       Michael David          $119,754.74 Reserved
                                  Greenfield –
                                  Multiple Accounts
              Bank of America     Michael David          $416,047.11 Reserved
                                  Greenfield
              Bank of America     Michael David          $0.58        Not Reserved
                                  Greenfield
              Bank of America     EGFE USA LLC1          $41,119.45   Reserved
              Prudent Group       EGFE Hungary           $348,266     Not Reserved
                                  KFT2


         5. Attached hereto is a true and correct copy of the following document:

                         Exhibit A:   The original Hebrew and certified-English translated order
                                      issued by the District Court in Tel Aviv-Yafo dated January
                                      26, 2022, authorizing the Foreign Representative to
                                      repatriate to Israel all U.S.-based assets of the Debtor.

         I declare under penalty of perjury that the foregoing is, to the best of my knowledge and

belief, true and correct.




1
    The Foreign Representative has replaced the Debtor as owner of EGFE USA LLC.
2
    The Foreign Representative has replaced the Debtor as owner of EGFE Hungary KFT.

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Dated: March 9, 2022
       New York, New York

                                SEIDEN LAW GROUP LLP

                                /s/ Amiad Kushner
                                Amiad Kushner
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                                New York, NY 10001
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                                Attorneys for Lior Dagan as Foreign
                                Representative of Michael David
                                Greenfield (a.k.a. Michael Ben-Ari)




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